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5    Attorney for Defendant
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8
                             IN THE UNITED STATED DISTRICT COURT
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                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                         )   Case No.: 1:09-cr-00298 OWW
12                                                     )
                    Plaintiff,                         )
13                                                     )   STIPULATION AND ORDER TO
            vs.                                        )   CONTINUE DATE FOR SENTENCING
14                                                     )
     DONALD MONACO,                                    )   DATE: December 20, 2010
15                                                     )   TIME: 9:00 AM
                    Defendant.                         )   Honorable Oliver W. Wanger
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            Counsel for Donald Monaco previously filed a request to continue this defendant’s
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     sentencing hearing currently set for December 20, 2010. Since that time, I was able to confer
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     with Assistant United States Attorney Kevin P. Rooney, who agreed, on behalf of the United
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     States, to stipulate to the requested continuance. Therefore, this request is now being presented
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     to the court as a stipulation, rather than a defense request.
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            Therefore, it is respectfully stipulated between the parties that the sentencing hearing in
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     this matter be continued from December 20, 1020 at 9:00 am, to January 24, 2010 at 9:00.
23
     Dated: May 12, 2010                                     /s/Carl M. Faller
24
                                                             CARL M. FALLER
25                                                           Attorney for Defendant

26                                                           /s/Kevin P Rooney
                                                             KEVIN P. ROONEY
27                                                           Assistant U. S. Attorney
28
                                                             Attorney for the United States
              Case 1:09-cr-00298-AWI Document 97 Filed 12/17/10 Page 2 of 2



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2                                               ORDER:

3           IT IS ORDERED that defendant’s sentencing hearing currently set for December 20,

4    2010 at 9:00 am., be continued until January 24, 2010 at 9:00 am.

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23   IT IS SO ORDERED.
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        Dated:    December 16, 2010                                        /s/ Oliver W. Wanger
25                                                            UNITED STATES DISTRICT JUDGE
                                                     DEAC_Signature-END:




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